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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,

                         Plaintiff,
                                                 Case No. 24-CR-0372-SEH
  v.

  ARTHUR EDWARD SUAREZ JR.,
  KENDRA DEANNE SINGLETARY,
  DANA MICHAELLE STOKES,
  TONY EUGENE BAHE,
  NATHAN ALLEN LEWELLING,
  KYLA MARISA BRADFORD,


                                Defendants.

            Unopposed In-Part and Opposed In-Part Motion for Protective Order

       The United States of America, moves the Court to enter a Protective Order for all

 discovery and investigative materials to include, but not be limited to, materials

 subject to Rule 6(e) of the Federal Rules of Criminal Procedure, and video and audio

 recordings, and in support thereof states as follows:

       1.    The undersigned Assistant United States Attorney consulted with counsel

 for the Defendants: Kathrine Greubel on behalf of Arthur Suarez Jr., Taylor

 McLawhorn on behalf to Kendra Singletary, Jason Perkins on behalf of Dana

 Stokes, Michael Noland on behalf of Tony Bahe, Kara Pratt on behalf of Nathan

 Lewelling, and Collin Rockett on behalf of Kyla Bradford, regarding their position in

 reference to this Motion and Mr. McLawhorn, Mr. Perkins, Mr. Noland, Mr.

 Rockett, and Ms. Pratt have no objection to this Motion. Ms. Greubel objects to this
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 Motion.

     2.    The Jencks Act requires that the Government, on motion of the Defendants,

 produce any “statement” of a witness it has called that relates to the subject matter to

 which the witness has testified. 18 U.S.C. § 3500(b)(1988). This material includes a

 transcript of grand jury testimony in which confidential informant(s) are identified by

 name. Id., § 3500(b)&(e)(3); United States v. Bailey, 944 F.2d 911, 1991 WL 180087

 (10th Cir. (Colo.)) (unpublished)(citing United States v. Knowles, 594 F.2d 753, 755

 (9th Cir. 1979)).

     3.    Fed. R. Crim P. 26.2(a) states that after a witness has testified on direct

 examination, the Defendant is entitled to a transcript of the grand jury testimony and

 investigative materials of the witness.

     4.    Fed. R. Crim. P. 6(e)(1) gives the United States Attorney custody and

 control of grand jury transcripts until the Court orders otherwise. Rule 6(e)(2) states

 “an attorney for the government . . . shall not disclose matters occurring before the

 grand jury, except as otherwise provided in these rules.@ There are several exceptions

 to the rule, and one exception allows grand jury transcripts to be released when

 directed by the Court. Fed. R. Crim. P. 6(e)(3)(E)(i).

     5.    It is the practice in this district to voluntarily disclose grand jury transcripts

 and investigative materials during discovery, thereby preventing delays during the

 trial.

     6.    The government’s evidence in this case relies, in part, on information

 provided by cooperators. Information provided by cooperators is documented in law
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 enforcement reports and grand jury transcripts.

     7.   Additionally, this investigation includes audio and video recordings of

 cooperators or informants. There are known dangers to the cooperators and

 informants in this case that require a protective order be in place. It is the

 Government’s belief that if the video of cooperators or informants are leaked, harm

 could come to those cooperators or informants.

     8.   Although a federal Grand Jury returned an Indictment in this matter,

 indicted and unindicted co-conspirators remain at-large.

     9.   There are other members of the criminal organization who are not in

 custody and could be alerted to this investigation if a protective order is not in place.

     10. In order to protect individuals who have provided assistance in the

 criminal investigation and could be potentially targeted, threatened and intimidated, 1

 to protect the ongoing investigation, prevent the destruction of evidence, prevent

 targets from becoming fugitives, to protect the sanctity and the secrecy of the grand

 jury process, prevent the intimidation of others who may have cooperated previously

 or are now cooperating and to protect the Government's attorney if she discloses to

 Defendants’ counsel, prior to trial, grand jury and other investigative materials which


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  Cooperating witnesses and confidential informants are regarded as “snitches” or “rats” by
 their criminal associates. Dissemination of these individuals’ statements poses obvious
 dangers, especially where they are incarcerated in the same facility. The argument that letting
 the defendant read the material allows him to talk about what he read is no different than
 providing the written documents ignores the obvious when dealing with criminals. It is not
 the same kind of damage. Documentary evidence of a witness's betrayal is more compelling
 than a verbal statement because there is an actual writing or a piece of paper containing
 information which can facilitate retaliation or intimidation of a witness.

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 must be disclosed under normal circumstances pursuant to the dictates of the Jencks

 Act, 18 U.S.C. § 3500; Fed. R. Crim. P. 16; United States v. Giglio, 405 U.S. 150

 (1972); and Brady v. Maryland, 373 U.S. 83 (1963), a protective order should be

 entered for all documents provided to the Defendant and defense counsel in this

 case.

    11. All discovery provided, regardless of how it is labeled will be protected under

 this Protective Order because of the sheer amount of discovery.

    12. The Protective Order should include the following restrictions:

         a. Defense counsel shall not show the discovery to anyone except the
            defendant, attorneys of record in this case, and those persons hired by the
            attorney; this includes expert witnesses who are necessary to assist counsel
            of record in preparation for trial;

         b. Defense counsel shall not distribute the discovery for any purpose other than
            to those individuals identified in paragraph c;

         c. Defense counsel shall not copy the discovery to give to any person or party,
            including the defendant, expect for those persons hired by the attorney
            including expert witnesses who are necessary to assist counsel of record in
            preparation for trial. Defense counsel must maintain complete custody and
            control over the discovery, including all copies, except defense counsel shall
            be permitted to send, by secure electronic means, copies to persons hired by
            the attorney who are necessary to assist counsel of record in preparation for
            trial; and

         d. Defense counsel shall notify any person that is shown or receives a copy of
            the discovery, pursuant to this Protective Order, that they are bound by the
            restrictions of this Protective Order, of the need to keep the discovery secure,
            and that they must shred any copies of, and destroy any electronic links to,
            the discovery when the above-captioned case is complete.

    13. The requested restrictions do not prevent the defendant(s) from reviewing the

 discovery in defense counsel’s presence during attorney-client interviews/meetings,


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 however the defendant is not allowed to keep or maintain a copy of the discovery.

 Defense counsel may discuss the above-captioned case with co-counsel or anyone

 counsel has hired in preparation for trial. Additionally, the parties agree that defense

 counsel may show witnesses their own statements or transcripts.

    14. Fed. R. Crim. P. 16(d)(1) provides that the Court may “for good cause, deny,

 restrict or defer discovery or inspection, or grant other appropriate relief.” Fed. R.

 Crim. P. 16(d)(1). The Supreme Court has noted that the courts may use protective

 orders to restrict the use of materials produced in discovery. Where appropriate, a

 trial court can and should place a defendant and his attorney under enforceable

 orders against unwarranted disclosure of the materials which they may be entitled to

 inspect. Alderman v. United States, 394 U.S. 165, 185 (1969).

    15. In light of the propensity for violence of some defendants and the fact that

 all members of the organization are not in custody, a Protective Order is necessary in

 this case.

    16. Additionally, there is a significant amount of personal identification

 information in the discovery that includes, but is not limited to bank records, social

 security numbers, date of birth, home addresses, and other such information that

 could cause serious harm if released. This information is voluminous and would be

 extremely difficult to separate and/or redact in a timely manner—this includes

 editing a large amount of audio/video evidence.

    WHEREFORE, the United States respectfully requests that the Court enter a

 protective order for all discovery and investigative materials to include, but not be
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 limited to, materials subject to Rule 6(e) of the Federal Rules of Criminal Procedure,

 law enforcement reports, video recordings and audio recordings generated through

 the criminal investigation.

     At the time of this Motion, Defendants Kenneth Wayne Toney, Osman Rolando

 Sanchez, and Jeremy Nathaniel Stage remain at large with an active federal arrest warrants.



                                           Respectfully Submitted,

                                           CLINTON J. JOHNSON
                                           UNITED STATES ATTORNEY


                                           ___/s/ Mandy M. Mackenzie___________
                                           Mandy M Mackenzie, WABA No. 55836
                                           Assistant United States Attorney
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                                           Tulsa, OK 74119-1013
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                                    Certificate of Service

 I hereby certify that on the 18th day of December, 2024, I electronically transmitted
 the foregoing document to the Clerk of Court using the ECF System for filing and
 transmittal of a Notice of Electronic Filing to the following ECF registrant:

 Kathrine Greubel                               Taylor McLawhorn
 Defense Counsel for Suarez Jr.                 Defense Counsel for Singletary


 Jason Perkins                                  Michael Noland
 Defense Counsel for Stokes                     Defense Counsel for Bahe


 Kara Pratt                                     Collin Rockett
 Defense Counsel for Lewelling                  Defense Counsel for Bradford




                                                       /s/ Mandy M. Mackenzie
                                                       Mandy M. Mackenzie
                                                       Assistant United States Attorney




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